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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


                                   )
ATLAS, INC., et al.,               )     Case No.: 1:17-cv-01953-RDM
                                   )
             Plaintiffs,  )              Hon. Randolph D. Moss
                   v.     )
                          )
INTERNATIONAL BROTHERHOOD )
OF TEAMSTERS, AIRLINE     )
DIVISION, et al.,         )
                                   )
             Defendants.           )
~~~~~~~~~~~-)

    DEFENDANTS' MEMORANDUM IN OPPOSITION TO PLAINTIFFS'
         MOTION FOR PRELIMINARY INJUNCTIVE RELIEF




                       Union Exhibit 24:
      Declaration of James M. Greene
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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


  ATLAS AIR, INC. and POLAR AIR CARGO                               Civil Action No. 1: 17-CV-01953 RDM
  WORDLWIDE, INC.,

  Plaintiffs,

                            v.

  INTERNATIONAL BROTHERHOOD OF
  TEAMSTERS; INTERNATIONAL
  BROTHERHOOD OF TEAMSTERS, AIRLINE
  DIVISION; and AIRLINE PROFESSIONALS
  ASSOCIATION OF THE INTERNATIONAL
  BROTHERHOOD OF TEAMSTERS, LOCAL
  UNION NO. 1224,


  Defendants.




                            DECLARATION OF JAMES M. GREENE

       I, James M. Greene, do hereby declare under penalty of perjury pursuant to 28 U.S.C.§

1746, the following:

        1.        I am employed as a pilot by Atlas Air, Inc. ("Atlas"). I have an airline transport

pilot's license from the Federal Aviation Administration and work as an Atlas captain flying

Boeing 767 aircraft. I have worked at Atlas since October 31, 2011. I am also a union

representative for the Atlas pilots and am familiar with the Atlas scheduling programs and assist

both the pilots and Atlas with respect to scheduling matters. As such, and with Atlas's

knowledge and consent, I have access to Atlas's scheduling programs.

             2.   Since 2011, Atlas and its affiliated company, Polar Air Cargo Worldwide, Inc.

(Polar) have operated separately under their own regulatory operating certificates and authorities



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      but the pilots who fly their aircraft work under one collective bargaining agreement (CBA) and

      one seniority list. Moreover, despite the fact that both Atlas and Polar are collectively referred to

      as the "company" under the CBA, the pilots who operate their aircraft pursuant to the CBA are

      all employees of Atlas.

             3.      I understand that Atlas and Polar (collectively, the "Plaintiffs") have filed a

      lawsuit against my union, claiming that the union and the Atlas pilots are engaging in an illegal

      slowdown. I have read Plaintiffs' complaint and the declaration of Captain Jeffrey Carlson in

      support of Atlas's motion for a preliminary injunction. I understand that Captain Carlson is the

      Senior Vice President of Flight Operations for Plaintiffs' corporate parent, Atlas Air Worldwide

      Holdings, Inc. Neither Plaintiffs' complaint nor Captain Carlson's declaration specifically

      identify the pilots whom they have accused of engaging in various purported unlawful slowdown

      activity. The Union sent a communication to the pilots asking them to read the complaint and

      Captain Carlson's declaration and to contact the Union if the recognized that they were being

      described in the complaint and declaration. At the same time, I began researching the schedules

      regarding the flights identified in the complaint and Captain Carlson's declaration to determine

      whether I could substantiate the accusations and allegations contained in them. I paid particular

      attention to the accusations concerning improper sick leave callouts by the Atlas pilots, because

      those allegations seemed to be vague and therefore required time to figure out what was going

      on. Based on my research using Atlas's scheduling programs, the underlying facts relating to

      claims and allegations made by Plaintiffs in the complaint and in Captain Carlson's declaration

      are not consistent with those claims and accusations. Based on my research, these claims

      accusations by Plaintiffs and Captain Carlson are not true.




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        4.     For example, the first bullet point claim contained in Paragraph 44 of the

complaint and Paragraph 18 of Captain Carlson's declaration states that:

        On June 7, 2017, 3 crewmembers consecutively called out sick for a single DHLflight
       from CVG to Narita, Japan, causing a rolling delay of nearly nine hours. A FO initially
       called out sick, forcing Atlas to find a replacement and adjust the departure time. Then
       the replacement pilot called out sick, forcing Atlas to find a 2nd replacement and.further
       adjust the departure time. Finally. the second replacement pilot called out sick, forcing
       Atlas to find a third replacement and again adjust the departure time. These consecutive
       sick calls also impacted the return flight from Narita to CVG, which was a major
       transport ofpackages from Japan that experienced a corresponding delay of nearly 9
       hours due to the 3 sick calls in CVG. As a result, all of the packages missed the sort
       deadline into CVG and could not be delivered until the day after they were promised by
       DHL to its customers.

Based on my review of the schedules concerning the flight described above, the flight in question

was Flight PO 213, which was scheduled to depart from CVG Airport near Cincinnati, Ohio, to

Narita Japan on June 7, 2017 at 09: 15z. As of May 31, 2017, four crew members (pilots) were

assigned to operate that flight: Captain Kurtis Oberg and First Officers Drue Overby, Brian

Wallingford, and Amber Scully. On June 6, 2017, First Officer Scully was placed on MED at

08:44z. Four minutes later, at 0848z, Atlas's scheduling department assigned Captain Lofts to

replace First Officer Scully. Then, at 10:56z, 2 hours and 8 minutes after Captain Lofts was

assigned to Flight No. 213 to replace Scully, Atlas's scheduling department removed him and

reassigned him to another flight, namely, Flight No. PO 751, which was departing from CVG to

Chicago's O'Hare Airport (ORD). Plaintiffs' and Captain Carlson's claim that the first

replacement pilot (Lofts) for First Officer Scully also called out MED, therefore, is incorrect.

Instead, as noted above, Atlas removed him and reassigned him to another flight. Captain Lofts,

Scully's replacement, was himself replaced one minute after he was removed from Flight No.

213, at 10:57z. First Officer Erik Taylor, replaced him and became First Officer Scully's second

replacement. Taylor had been assigned to PO Flight 751, the flight that Captain Lofts had been




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assigned to before he was reassigned to PO Flight 213. Then, on June 7, 2017, at 03:52z, 16

hours and 55 minutes after he had been assigned to operate PO Flight 213 as the second

replacement for First Office Scully, First Officer Taylor was reassigned back to his original

flight, PO 751. Again, contrary to Plaintiffs' and Captain Carlson's claim that the second

replacement pilot for Captain Scully also called out sick, Atlas removed him and assigned him to

another flight then returned him to the flight referred to by Plaintiffs and Captain Carlson. Then,

on June 7, 2017, at 06:37z, Atlas removed First Officer Siu Cheung (Vincent) Moy from his June

8, 2017 previously assigned flight from CVG to Seoul, South Korea (Flight No. P0237) as the

third replacement for First Office Scully on PO Flight 213. There were other crew changes

related to PO Flight 213. In this regard, on June 6, 2017, at 23:46z, First Officer Overby was

placed on MED by Atlas. Atlas replaced First Officer Overby with First Officer Francisco Ruiz

on June 7, 2017 at 00:34z. First Officer Ruiz had been on reserve. First Officer Ruiz was not

assigned to replace First Officer Scully but rather First Officer Overby.

       5.      The third bulleted paragraph of Paragraph 44 of the complaint and the third

bulleted paragraph of Captain Carlson's declaration state as follows:

       On July 16, 2017, A B-767 flight from Houston to Norfolk Naval Station in Norfolk,
       Virginia to pick up 213 military service members was delayed over 36 hours as a result of
       the Captain calling out sick at his scheduled wakeup time and Atlas being unable to
       assign a rested, available pilot who could get to Houston, which is not a crew base for B-
       767aircrqft. As a result, the Norfolk service members were picked up late and suffered a
       delayed arrival into Kuwait. Atlas spent $44, 000 to house andfeed the distressed
       passengers.

       Based on my review of Atlas's scheduling records, Plaintiffs' and Captain Carlson's claim

       regarding this flight do not appear to be accurate. Per my review of Atlas's scheduling

       records, Captain Jeff Campbell was awarded a reserve line with a schedule of 6 reserve

       days in CVG (Cincinnati Airport) from July 14th through July 19th. On July 9th at 1413z




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 Captain Campbell's schedule was changed to show him traveling on a commercial

 passenger carrier from CVG to IAH (Houston Intercontinental). He then was scheduled

 to rest until his flight assignment to operate a flight GTI 7686, which was a ferry flight

 from IAH (Houston) to NGU (Norfolk Naval Air Station) on July 15, 2017. He

 acknowledged these changes to his schedule on July 14th at 1324z. Subsequently,

 Captain Campbell is marked as MED at 032 lz. This is approximately 6 minutes after he

 should have received his wake up call for the flight. Additionally, even though his

 schedule showed a commercial flight from CVG to IAH and then rest until reporting for

the flight, the scheduling records show that there was no hotel room booked for Captain

 Campbell and no travel arrangements were made for Captain Campbell to travel from

 CVG or his gateway airport to IAH. It appears from Atlas's scheduling records that

 Captain Campbell was not ever in IAH and was therefore not ever in position to operate

the IAH-NGU ferry flight. Thus, while Campbell is shown in Atlas's scheduling system

 as having his trip removed and being placed on MED status six minutes after he would

have received his wake up call in Houston, coupled with the fact that there was neither a

commercial airline reservation to IAH nor a hotel booked for him in Houston, strongly

 suggests that either the Atlas scheduling department or Captain Campbell, or both, made

 a mistake and that had nothing to do with an alleged concerted plot by the pilots to harm

Plaintiffs' operations. If anything, the facts I have been able to learn regarding the IAH-

NGU flight show that the Atlas's scheduling department appears to have played a critical

role in the delay.




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        6.     The second sub-bulleted paragraph contained in the 5th bulleted paragraph of

Paragraph 44 of the Complaint and the second sub-bulleted paragraph contained in the 5th

bulleted paragraph of Paragraph 18 of Captain Carlson's declaration states that:

Another flight full of general cargo from Pudong International Airport in Shanghai to
Anchorage was de fayed 11 hours and 15 minutes due to a sick call by a pilot at his scheduled
wakeup time, and would continue to run late for three days as a result.

The flight that the Plaintiffs and Captain Carlson are referencing here is Flight PO 218 on August

27, 2017 at 2115z with a 3 pilot crew consisting of Captain Bauer, First Officer Armstrong, and

First Officer Viertel. After reviewing the schedule relating to that flight, I could not find any

pilots with MED (referred to by Plaintiffs and Captain Carlson as a "sick call") on their schedule

in PVG on August, 27· 2017. Atlas's scheduling records are contrary to Plaintiffs' and Captain

Carlson's claims as quoted above. The only 747 crewmember on MED status in the vicinity was

in Hong Kong (HKG) and not scheduled to fly to PVG. First Officer Viertel was originally

scheduled to operate the flight in question but was removed when he was delayed departing SYD

for PVG. Per the company's records this delay was due to a combination of aircraft maintenance,

airport curfew and a crew fatigue call. First Officer Montalvo was removed from his previously

scheduled flight, P0998 PVG-ANC, to operate the flight in question at 08 l 7z on August 2r

then was returned to operating P0998 at l 803z on August 271h. First Officer McCoy who finally

operated the flight was assigned at 2006z on August 27th, He arrived in PVG on August 271h at

1810z and had been previously scheduled to deadhead on a commercial flight to HKG at the time

P0218 departed.

       7.      The third sub-bulleted paragraph contained in the 5th bulleted paragraph of

Paragraph 44 of the Complaint and the third sub-bulleted paragraph contained in the 5 bulleted

paragraph of Paragraph 18 of Captain Carlson's declaration states that:




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             Another flight for Nippon Cargo Airlines from Anchorage to Narita was delayed nearly
             14 hours due to a pilot sick call. No pilots were available at the base because of other
             crew call outs.

      The flight that Plaintiffs and Captain Carlson are referencing here is Flight No. 7186. Atlas's

      scheduling records contain a note from the Atlas scheduling department stating:

             Primary delay 67 for ''N407KZ"for flight 7167, ANC-NRTof 08.27.2017 Late arrival of
             crew on N493MC required additional rest.JC

      The initials at the end of the note, "JC" are those of the scheduling department person who

      entered the note into the scheduling record. Based on my review of Atlas's scheduling records,

      this flight was scheduled as 5Y7167 on August 27th to depart at 0315z and did not depart until

      l 840z. First Officer Glover was assigned to operate the flight in question on August 25th at

      0918z. He was reassigned to this flight due to a crew scheduling error which had previously

      assigned First Officer Glover to flight CX3281 operated on a 747-8 aircraft which he was not

      qualified to operate. First Officer Glover was removed from flight 5Y7167 and placed on MED

      status on August 26th at 2338z. First Officer Glover was then replaced with First Officer Webster

      who was in his required pre-departure rest period for flight 5Y4312 (the first flight of his trip

      which was assigned to him on August 23rd) with a scheduled departure time of 1840z on August

      271h and could not legally be contacted or required to report for duty any earlier than the report

      time for his previously scheduled departure. There were no other reserve pilots on duty in

      Anchorage (ANC) at the time and the flight was delayed until First Officer Webster reported for

      duty. The delayed arrival of aircraft N493MC as referenced in Captain Carlson's declaration was

      not the proximate cause of the 14 hour delay. Captain Jeffrey L. Campbell, who was part of the

      crew operating the referenced flight arriving into Anchorage from Shanghai, required a minimum

      of 10 hours of rest before he would be legal to depart which established the previously scheduled

      0315z departure of flight 5Y7167. Captains Campbell and Brayton came on duty for the 0315z


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    departure and were subsequently released into an additional 10 hours and 55 minutes of rest due

    to not having a complete crew. This additional rest was required to allow them to report for duty

    at the same time as First Officer Webster, who was unavailable to report for a departure earlier

    than 1840z.

             8.    The fourth "sub-bullet" point contained in the 5th dark bullet point of Paragraph

    44 of the Complaint and the third "sub-bullet point contained in the 5th dark bullet point of

    Paragraph 18 of Captain Carlson's declaration states that:

           Af/ightjor the U.S. military tramporting needed supplies from Hill Air Force Base near
           Ogden, Utah to Hahn, Germany (and then going to Qatar) was delayed approximately 20
           hours due to a sick call by a First Officer.

    The flight in question is flight 5Y8018 scheduled to depart HIF August 26th at 1905z. It is

   neither accurate nor fair to blame the delay of the flight on a "sick call by a First Officer." The

   First Officer in question, Daniel Pocock, a reserve pilot in Los Angeles, was placed on MED

    status August25, 2017 at l 7:38z, approximately twenty-five hours before the flight was

    scheduled to depart. Atlas had previously scheduled First Officer Ron Roberts, to fly as a 2-man

   crew from Chicago to Hill Air Force Base, he was then briefly scheduled to extend his duty day

    and operate Flight 8018 on to HHN. First Officer Roberts legally could not operate Flight 8018

   immediately after operating the flight from ORD due to regulatory and contractual two-man

    crew duty day limitations.   First Officer Robert's schedule was then updated to show minimum

   legal rest of I 0 hours when he landed at Hill Air Force Base. The new departure time was

    subsequently pushed back again due to the airport being closed until 1500z. Atlas had twenty-

   five hours after First Officer Pocock was placed on MED to assign a new First Officer to Flight

    801 O before it's scheduled departure time. Atlas's conduct is evidence not of a pilot slowdown




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but of an airline without sufficient pilots, an airline that falsely categorizes delay data and lacks a

scheduling department with the resources to schedule its operations.

         I declare under penalty of perjury under the laws of the United States that the foregoing

statements are true and correct.

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Dated:




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